

Rudy v Altmar-Parish-Williamstown Cent. Sch. Dist. (2020 NY Slip Op 07739)





Rudy v Altmar-Parish-Williamstown Cent. Sch. Dist.


2020 NY Slip Op 07739


Decided on December 23, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 23, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., TROUTMAN, WINSLOW, BANNISTER, AND DEJOSEPH, JJ.


557 CA 19-02100

[*1]TARA K. RUDY AND LORNE M. RUDY, CLAIMANTS-RESPONDENTS,
vALTMAR-PARISH-WILLIAMSTOWN CENTRAL SCHOOL DISTRICT, RESPONDENT-APPELLANT. (APPEAL NO. 1.) 






MCGIVNEY, KLUGER, CLARK &amp; INTOCCIA, P.C., SYRACUSE (LEIGH A. LIEBERMAN OF COUNSEL), FOR RESPONDENT-APPELLANT. 
ROBERT E. LAHM, PLLC, SYRACUSE (JOSHUA M. GILLETTE OF COUNSEL), FOR CLAIMANTS-RESPONDENTS.


	Appeal from an order of the Supreme Court, Onondaga County (Deborah H. Karalunas, J.), entered May 15, 2019. The order, among other things, granted claimants' application for leave to serve a late notice of claim. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on October 15, 2020,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: December 23, 2020
Mark W. Bennett
Clerk of the Court








